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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           VALDOSTA DIVISION

PORTERFIELD STOKES,               :
                                  :
      Plaintiff,                  :
                                  :
v.                                :             CASE NO.: 7:19-CV-34 (WLS-TQL)
                                  :
TONIE BENNEFIELD, et al.,         :
                                  :
      Defendants.                 :
_________________________________:

                                        ORDER
      Defendant Tonie Bennefield has filed a Motion in Limine. (Doc. 81.) Plaintiff is

ORDERED to file a response thereto no later than Friday, November 5, 2021, and

Bennefield’s reply brief is due no later than Friday, November 19, 2021.

      Furthermore, the Parties are ORDERED to file a status update on the outcome or

status of mediation no later than Wednesday, December 1, 2021.



      SO ORDERED, this 14th day of October 2021.

                                         /s/ W. Louis Sands
                                         W. LOUIS SANDS, SR. JUDGE
                                         UNITED STATES DISTRICT COURT




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